
PER CURIAM.
Appellant’s notice of appeal, whereby he sought review of an order of the circuit court denying his petition for writ of mandamus, was not timely filed. For this reason, we dismiss the appeal for lack of jurisdiction. Because the proceeding below was not a criminal case, Florida Rule of Appellate Procedure 9.140(j) does not apply. However, we acknowledge appellant’s claim that he did not *734receive a copy of the circuit court’s order until after the time for initiating an appeal had expired. Accordingly, this disposition is without prejudice to appellants’s right to seek relief in the trial court by motion pursuant to Florida Rule of Civil Procedure 1.540, requesting that the original order be set aside and that a new order be entered, such that the right to seek review may be preserved. See Brown v. State, 708 So.2d 1041 (Fla. 1st DCA 1998); Snelson v. Snelson, 440 So.2d 477 (Fla. 5th DCA 1983).
APPEAL DISMISSED.
WOLF, KAHN and PADOVANO, JJ., concur.
